                 Case 2:13-cr-00412-TLN Document 90 Filed 02/22/17 Page 1 of 2


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 5 Attorney for:
   MARIO LOPEZ-AYALA
 6
                                IN THE UNITED STATES DISTRICT COURT
 7
                                   EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                          CASE NO. 2:13-CR-0412 TLN
10
                                  Plaintiff,            STIPULATION TO CONTINUE JUDGMENT AND
11                                                      SENTENCING
                           v.
12
     MARIO LOPEZ-AYALA,
13                                Defendant.

14
                                                STIPULATION
15
            Plaintiff United States of America, by and through its counsel of record, Todd Pickles, and
16
     Defendants Mario Lopez-Ayala, represented by Attorney Dina Santos, hereby stipulate to continue the
17
     date of Judgement and Sentencing to October 12, 2017, at 9:30 a.m. Probation will be advised of the
18
     new date.
19

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21
            IT IS SO STIPULATED.
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23

24
     Dated: February 22, 2017                               PHILLIP A. TALBERT
25                                                          United States Attorney

26
                                                            /s/ Todd Pickles
27                                                          TODD PICKLES
                                                            Assistant United States Attorney
28
                                                        1
            Case 2:13-cr-00412-TLN Document 90 Filed 02/22/17 Page 2 of 2


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 2 Dated: February 22, 2017                     /s/ Dina L. Santos
                                                DINA L. SANTOS, ESQ.
 3
                                                Attorney for MARIO LOPEZ-AYALA
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 5

 6                                          ORDER
 7        IT IS SO FOUND AND ORDERED this 22nd day of February, 2017.
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                                                    Troy L. Nunley
12                                                  United States District Judge

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